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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

In re:                                         )        Chapter 11
                                               )
B GSE GROUP, LLC,                              )        Case No. 23-30013
                                               )
                              Debtor.          )

                       SECTION 1188(c) STATUS CONFERENCE REPORT

       The Debtor has elected to file this case under subchapter V of Chapter 11 of Title 11 of the
United States Code. The Debtor files this report pursuant to 11 U.S.C. § 1188(c).

1.       Type of Plan of Reorganization. The Debtor intends to pursue the following type of plan
         of reorganization in this case:

                             Consensual       _____ Nonconsensual           X   Undetermined

2.       Efforts to Formulate a Consensual Plan of Reorganization.

         The Debtor has discussed its reorganization proposal with counsel for its senior secured
         creditors and certain of its largest unsecured creditors. Having received preliminary
         support for its plan concept, the Debtor’s professionals are currently working on a draft
         plan document. Once the draft and supporting schedules are completed, the Debtor intends
         to confer with the Subchapter V trustee and the foregoing creditors again to discuss more
         specific details before submission of the plan.

3.       Additional Information. None.

Dated: Charlotte, North Carolina
       February 7, 2023
                                                   MOON WRIGHT & HOUSTON, PLLC

                                                          /s/ Richard S. Wright
                                                   Richard S. Wright (NC Bar No. 24622)
                                                   212 North McDowell Street, Suite 200
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                                                   Counsel for the Debtor




MWH: 10782.001; 00028199.1
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                                      CERTIFICATE OF SERVICE

         I hereby certify that the foregoing Section 1188(c) Status Conference Report was served

by electronic notification on those parties registered with the United States Bankruptcy Court,

Western District of North Carolina ECF system to receive notices for this case on the date shown

below.

Dated: Charlotte, North Carolina
       February 7, 2023

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                                                Counsel for the Debtor




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